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                                                Exhibit 3(n): Watson


                                                            •   J1094

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               Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 2 of 30




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                                                                                       Amount Paid:



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                    PEAE!ODY, MA 01960
                                                                                        CTED
                                  F~leCopy                        This is not a Check
                                 SHEET METAL WORKERS' NATIONAL.BEALm                        FUND
                                                  P.O. Box 1449
                                          Goodlettsville, IN 37070~1449
 Claim No. 2538464                Phone (615) 859-0131 Toll-free (800) 8314914                      Check No. 1082600
                                            Explanation of Benefits                      SMW+ ProQram




               04/26/2004   04/26/2004       . $380.00        $0.00        $]1.34        $] 1.34      $1l34




Commenls:

CHARGES APPLIED TO YOUR MEDICARE PART B DEDUCTIBLE ARE NOT PAYABLE
UNDER THIS PLAN. $100.00 WAS APPLIED TO OED




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                                                                  Provider:             ELIOT G SHERR DPM
                                                                  Participant SSN: _
   .ELIOT G SHERR DPM                                             RES .Claim Number:    2536464

    205 ANDOVER ST
    PEABODY, MA 01960

                                                         _        Southern Benefit
                                         Processed by    l!m Administrators, file.



                                                                                                              HIGHLY CONFIDENTIAL
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                             Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 3 of 30

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                                 SMW+
                                 SHEET :METAL WORKERS NAT'L HEAL11I
                              POBOX 1449
                              GOODLEITSVEE,                                      TN 37070-1449


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                                                                                               ORTH SHORE PODIATRY                                                                                     EllOT GSHERRDPM
    ELIOT G SHERRDPM                                                                          05 ANDOVER STREET                                                                                        205 ANDOVER. STREET
                                                          05252004                                                                                                                                     PEABODY,                                                     MA         01960
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                  Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 4 of 30



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                   Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 5 of 30
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                        RE ACTED                                                               Amount Paid:

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                      HANOVER, MA 02339

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                                      File Copy                    This is not a Check

                                     SHEET METAL WORKERS' NATIONALBEALTHF1JND
                                                 P.o. Box 1449
                                               Goodlettsville, 1N 37070-1449
     Claiin No. 1618975                Phone (615) 859-0131 Toll-free (800) 8314914                        Check No. 0142626
                                                 Explanation of Benefits                   .     SMW+ ProQram




                 10/09/2001       10/09/2001       $309.00        $0.00           $40.95         $40.95         $40.95




     Comments:




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                                                                      Provider.                  COMMONWEALTH    HEMI\TOLOGY ON
                                                                      Participant SSN:
                                                                      DMA    Claim Number:       1618975
        COMMONWEALTH HEMATOLOGY 0
        10 WILLARD ST
        QUINCY; MA 02169


                                               Processed by
                                                                     Southern Beltefit
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                                 Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 6 of 30
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            JAMES EVERETT, M.D.                                                                                                                                                                                      Qu:INCY MA 02169
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                                                                                SHEET METAL WORKERS' NATIONAL HEALTH FUND                                                                                                                                                                                                                 DAlElSSUSl
                                                                                 P.O. BOX 1449· GOODlETTSVIllE, TN 3707D-1449

PAY         *~*****225DDLLARS                                                                                  AND .49CENTS**
TO THE:
ORDER
                                                     r                                                                                                                                                                  0532886
      OF                                                  WINCHESTER                                                   HOSPiTAL
                                                                                                                                                                                                                                                                                          AUTHORIZED                   SIGNA lURE
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                                                     LwINCHESTER                                                   .                       ,MA 01890                                    -l                                                                                  NON .NEG.OTIABLE.
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                                                                                       SHEET METAL WORKERS' NATIONAL J-IEALTH FUND
                                                                                                                                                                      P.O. Box 1449
                                                                                                                              Goodleftsville. Tennessee 3707fJ., 1449 .                                                                                                                       SMW-t> PROGRAM
                                                                                                                        Toll-Free 800-831-4914     Phone (615) 859-0131-
                                                                                                                                                  EXPLANATION OF BENEFITS
      F'R.Dr1                                                                Tn·                                       CHARGES                                                      NOf\.1                      CHARGES                                       COVERED                                           AMOUNT
      DATE                                                             DATE                               SUBMITTED                                                   COVERED                                   ALLOWED                                       CHARGES                                                    P~IIf)

  09/12/2002                                    09/12/2002                                                             1305.18                                                       .00                            225.49                                         225.49                                       225.49




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         WINCHESTER HOSPITAL
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     ~ SHEET METAL WORKERS NATIONAL
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       P.O. BOX 1449
       GOODLETTSVILLE, TN




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                                                                                                  SUMMARY PC-PRINT
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     PATIENT NAME    F H                        PATIENT cNTRL NUMBER         COST Ntv L ORG TOT AMT REPTD CHGS                                                                           MSP lIAR M PROF COMP ESRD NET     COIIT ADJ
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            BERKSHIRE MEDICAL CENTER                                                    2                                                                                S1HATmOOllRONTC
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            42 REV, CD 1.1 DESCRlPllDtf                                                                44 HCPCS J RATES        45 SfRIJ.VATE       It!; SER'1. UNITS     47TOTAlCllARGES, ~tOt-l-COVEREDCHARGES 19
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        6 0304                  INFECTIOUS AGENT ANTIGE
                                   82108                                                                                         11305                              1                   42 165                                                                 7
        7 030,4                 ASSAY. ALUMINUM "
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   8 0304 ASSAY OF GGT
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   9 0304 ASSAY IRON
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  10 0304 ASSAY TRIG1YCERIDES
111  0304 ALANINE .AMINO (ALT) (SG  84460CF                                                                                      11305                              1                   23 ;17
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1 12 0304 ASSAY ALKALINE PHOSPHAT 84075CD                                                                                        11305                              1
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                                    B2310CD                                                                                      11305                              1                   22 ;52                                                                 14
r 14 0304 ASSAY CALCIUM
                                    82565CD                                                                                     ~11305                              1                   22 137                                                                 15
  15 0304 ASSAY CREATININE
                                    82247CF                                                                                     ~i1305                              1                   21 :93                                                                 16
  16 0304 BILIRUBIN:   TOT
                                    82040CD                                                                                     D11305                              1                   21 :67                                                                 17
  17 0304. ASSAY SERUM ALBUMIN
  18 0304 ASSAY BLOOD CARBON DIOX   B2374CD                                                                                     0113011                             1                   21 137                                                                     18
                                    84295CF                                                                                     ~11305                              1                   21 i03                                                                     19
  19 0304 ASSAY SERUM SODIUM
                                    84100CD                                                                                     D11305                              1                   20 :75                                                                     20
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                                    82435CD                                                                                       11305                             1                   20 l09                                                                     21
  21 0304 ASSAY BLOOD CHLORIDE
  22 Q304 ASSAY SERUM POTASSIOM     84132CD                                                                                       11305                             1                   20 ;09                                                                     22
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                                                                                                                                                                    ELLIE QUINLAN                                                             022305




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                     BERKSHIRE MEDICAL CENTER 2                                        s1s lAlWEWl'RQI!:f.I C
                     PO BOX 4999                                                            M629907361
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                 1     ASSAY SERUM CHOLESTEROL B2465CF                                                                                     11305                                    1                   19 ;03                                                                1
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               2 0304  ASSAY UREA NITROGEN      84520CD                                                                                    11305                                    1                   17 ;23                                  ;

               3 030'4 ASSAY UREA NITROGEN      84520CD91                                                                                  11305                                    1                   17 ;23                                  ;                             3
               4 0304  ASSAY QUANTITATIVE, GLU 82947CF                                                                                     11305                                    1                   1-7=14                                                                4
               5 0304  ASSAY PROTEIN            84155CD                                                                                    11305                                    1                   16 101                                                                5
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               6 0634  INJECTION EPOETIN ALFA    4055                                                                                      10105                                    1                  234 169
               1 0634  INJECTION EPOETIN ALFA    4055                                                                                      104-05                                   1                  156 :46                                   ..                           7
               8 0634  INJECTION EPOETIN ALFA    4055                                                                                      10805                                    1                  156146                                                                 6
               9 0634  INJECTION EPOETIN ALFA   Q4055                                                                                      11105                                    1                  156 :46                                                                9
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              1F0636   SODIUM FERRF' GLUCONATE J2916                                                                                       12005                                   In                  244 i53-                                                               14
              15 0821  DIALYSIS PROCEDURE       90999G5                                                                                    10405                                    1                  445 :55                                                                15
              16 0821  DIALYSIS PROCEDURE       90999G5                                                                                    10605 .                                  1                  445 :55                                                                16
              17 0821   DIALYSIS PROCEDURE      90999G5                                                                                    10B05                                    1                  445 l55                                                                11

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              20 0821   DIALYSIS PROCEDURE      90999G3                                                                                    11505                                    1                  445 i55                                                                20
             2 1 082"1 DIALYSIS   PROCEDURE     90999G3                                                                                    11805                                    1                  445 155                                                                21
             22 0821 DIALYSIS PROCEDURE         90999G3                                                                                    12005                                    1                  445 !55                                                                22
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                BERKSHIRE MEDICAL CENTER                                                             2                                                                             ~SrM~~ON~C
                PO BOX 4999                                                                                                                                                         I M629907361
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            1 0821
                DIALYSIS PROCEDURE                                                                                 90999G3                   12205                          1               .445 ;55                                                    1
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         4 0821 DIALYSIS PROCEDURE                                                                                 .90999G3                  12905                          1                445 :55                                                    4
         5 0821 DIALYSIS PROCEDURE                                                                                 90999G5                   10105                          1                445 :55                                                    5
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                                 MED1cARE INTERMEDIARY REMITTANCE ADVICE

     BERKSHIRE MEDICAL CENTER                    FISCAL PERIOD       MEDICARE
     PO BOX 4999                                 ENDING   / /         MUTUAL OF OMAHA
     PITTSFIELD MA 012020000                                          PO BOX 2350
                                                 BILL TYPE 721        OMAHA NE 681030000

_INTERMEDIARY FILE DATE 04/21/05 .                         PRINT DATE 05/12/05        PROVIDER NO. 222305
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 _     5913.34=CLAIM ADJS                              O.OO=OUTLIER                   O.OO=PROC CD ~OUNT
       8406.00=COVERED                                O·.OO=CAP OUTLIER               O.OO=ALLOW\REIM
\ DAYS/VISITS:                                         O.OO=CASH DEDUCT               O.OO=G/R AMOUNT
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                           SHEET METAL WORKERS' NATIONAL BEAL'm                                                                                   FUND
                                             P.o. Box 1449
                                     Goodlettsville, 1N 37070~1449
Claim No. 2554958            Phone (615) 859-013] Toll-free (800) 83]-4914
                                                                                                                                                                             Check No. 1098039
                                       Explanation of Benefits·                                                                             SMW+ Program




        01/0712004     01/08/2004      $3,510.55                           $0.00                       $411.04                         $411.04.                               $411.04
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Comments:




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                                                                                         ParticipantSSN;                                                                     Dependent                                  01
                                                                                         VLC ClaImNumber. 2554958
    QUINCY MEDICAL CENTER
    114 WHITWELL       STREET
    QUINCY, MA 02169

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                                              SHEET METAL WORKERS' NATIONAL HEALTH FUND
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                                                               Goodlettsville, Tennessee 37070-1449                                                        SI1l,oJ+ PROGRAM
                                                         Toll-Free 800-831-4914 Phone (615) 859-0131
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                                    Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 22 of 30

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                                                                                          SHEET METAL WORKERS'                           NATIONAl               HEALTH FUND                                                                                OATEISSUED
                                                                                               P.O. BOX 1449· GOODLETTSVIllE, TN 37070-1449
   PAY                         o/'r_*_~_.*_.-r._<-r._~·II-_*_6_2_D_O_L_l_.A_R_5
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                                                                                              SHEET METAL WORKERS'                                              NATIONAL HEALTH FUND
                                                                                                                                          P.O. Box 1449                                                                            SI'1It-H        PROGRAM
                                                                                                                           Goodlettsville, Tennessee 37070-1449
                                                                                                                     Toll-Free 800-831-4914 Phone (615) 859-0131
                                                                                                                              .. EXPLANATION OF BENEFITS
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       07117/2002                                             07/17/2002                                             672.36




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           Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 24 of 30
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                                                                                             ;r
    102 S THOMAS                 AVE                           .
    EVANSVILLEIN 47714-1;                                                      ~                                            If you have questions, write or call:
                                                                                                                                AdminaStar Federal, Inc.
                                                                                                                                P.O. Box 6130, Indpls, IN 46206·6130
                                                                                                                                        1-800-622-4792
                                                                                                                                        TDD (866) 284-0831
                                                                                                                                        SEND APPEALS:
                                                                                                                                        P.O. Box 50410, Indpls, IN 46250-0410
  HELP stop FRAUD: Do .not sell your Medicare                                                                                           VISIT US AT:                  .
. number or Medicare Summary Notice.                                                                                                    8115 Km;e Rmid, Il~dpls: IN 46250

                      This is a summary of claims processed from 06/2512002' through 07/2512002.
 PART n MEDICAL INSURANCE - AS~IGNED CLAIMS
                                                                                                                                                                                              Medicare                              YOll                        See
  D:ltes                                                                                                                                                                                                                       May Be Notes
                                                                                                                           Amonnl                       Medicare                                 Paid
   or -                                                                                                                                                                                       Provider                         Billed Section
                              Secvices Provided                                                                          Chnrgcd                       Approved
  Senice

  Claim number 02192910687000
  EMERGENCY ROOM ASSOCIATES, PO BOX9G3,
         EVANSVILLE, IN 47706-0963
  DR. JUDE J PEREZ                                                                                                                                                                              $46:01
  06119/02          1 Injection [orne[Ve block (64450)                                                                        $267.00                           $57.~1
                                                                                                                                    175.00                       56.l1                         , 44.89
  06/19102        . I Emergency depl visit (99283-25)
                                                                                                                              $442.00                          $11:;\.62                             $90.90
              CI:lIm Total




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  Claim number 02178941197000
  SOUTHERN INDIANA IMAGIN:G, POBOX                                                      138,
         EVANSVILLE. IN 47701-0138
  Referred by: DR. DA vro W BREWER                                                                                                                                                                                                                          -
  DR JAMES D MCDANIEL,
  06/19io2 . - 1 X-I"iIY exam of fing~rCs)                                                                                          -$27.00                           $6.46                           "$5:17                          $1.29                                  .
        -        (73140-26) ProfesslOn~1 Chrge                                                                                                                                                                                                                          -
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  Claim number 02186924488Qoo
  WELllORN CLINIC, 421 CHESTNUT                                            Sr,
         EVANSVILLE, IN 47113-1291
                                                                                                                                                                                                      ,-
  DR. GARY ERDY                                                                                                                                                                                       $28.66                                                      a
                                                                                                                                                                    $35.82
   06/11102                2 Iron de}ltran (n150)
                                                                                                                                                                     47.34                             37.87
   06111102                1 Office/outpatienl visit., est (99213)
                                                                                                                                    $127.32                          $83.16                           $66.53
                   Clllim Tot.lll




                          THIS IS NOT A BILL - Keep this ,noticefor your records. 22060535914
  0108593
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            Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 25 of 30
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Your Medicare Number:                                                                                                                      July 25, 2002

PART B MEDICAL INSURANCE - ASSIGNED CLAIMS-                                       . (continued)
                                                                                                              Medicare         You                     See
 Dntes                                                                                                                        MayBe                   Noles
                                                                 Amount    Medicare                              Paid
  of                                                                                                                          BUled                 SceUoD
                       Serviccs provided                         Charged   Approved                           Provider
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 Clnim number -02190916434000
 WELBORN      CLlNIC,·421 CHESl'NIIT       ST,
      EVANSVlLLI~, IN 47713-1291
 DR. GARY ERDY
 06/25/02          2 Iron deKlrnn (JI750.)                                              $35.82                   $28.66
 06/25/02          1 Office!oulplllienl visit, est (99213)                               47.34                    37.S7
              Claim Total                                                                S83.!6                  SG6.SJ


 Notes Section:
                              .                              .
   -a rhe appmveO aIDQunt is'based on a special'payment method.


 Deductible Information:
             You have met the Part B deductible fot 2002.

 General Information:
             You have the right to make a request in writing for an itemi~d statement which details each        .
             Medicare item or service which you have received [rom'your physic~an, hospital, or any other health
             supplier or_health professional. Please contact Ihem directly, in writing, if you would lik~ an
             ilemized slatement.

            _ If you change yo~r address, please contact the Social Security Administration by calling
              1-800~772-1213.-
             Who pays? You pay. Report Medicare fraud by calling 1-800-447-8471. An example of fraud would be
             claims' for Medicare items or services you di(lnot receive. If you have any otl).er questions about
             your claim. please contact the Medicare contractor telephone number shoWIl on this notice.




                                                                                                                               22060535914




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          Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 26 of 30
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  TERRV J ,RAMSEY                                           . ~
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                                                                                                                                                           1".
                                                                                                                                                                                       ~         ED
   102 S THOMAS AVE                                       '
   EVANSVILLE ~N 47714-14,7                                   ~      ~            If y u have questions, write or call: ,
                                                                                     AdminaStar Federal, Ine.
                                                                                     P.O. Box 6130, lndpls, IN 46206-6130
                                                                                      1-800-622-4792     ,
                                                                                     1DD (866) 284-0881
                                                                     ~                SEND APPEALS:
                                                                                     'P.O.,Box 50410, Indpls, IN 46250-0410
HELP STOP FRAUD: ,Do not sell your Medicare                                           VISIT US AT:                        .                                 '
number or Medicare Summary Notice ..                                                  8115 Knne, R03;d, Indpls, IN ~6250

                   This is a sununary of claims processed from 07/23/2002 through 08/2212002.
,PART B MEDICAL INSURANCE - ASSIGNED CLAIMS
                                                                                                                      Medicare                     You                  See
 Dates                                                                                                                   Paid                   ',MllyBe               Notes
                                                                                 Amoont
  of                                                                                                                  rrovider                     Billed             Section
                           Services Pro\ided                                     Cbarged
 Sernce


 Claim Dumber 02204923843000
 WELBORN CLINIC, -421'CHESTNU'f ST,
       , EVANSVILLE,         1N 47713-1291
 DR. GARY ERDY
 07/09102      2 Iron dextrnn (Jl750)                                                                  $35.82                 s2a.66                                        a
                                                                                                        41.34                  37.87
 07f09f02      I Officeloutptltienl visil, est (99213)
                 Claim Total                                                      S127..32             $83.16                 S66.53
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. Claim number     02218922483000                 ,
 Wl;LBORN CLINIC, 4Z1 CHESTNUT ST, ..
          EVANSVILLE,         IN 47713-1291
, DR.GARYERDY                                                                                                                   S2.80
 07123f02 '         .    1 Injection, scfJ.l!J. (90782)                              $8.5Q                  $351
                                                                                     (1p32                   35.8-2             28.66-
 Q.712.3fO?-     .~..   'Bron ill:Ktrnu'(J175Q),
                                                                                    $68.82                  $39.33            531.46
                  Claim Total'             .

  Notes Section:
    a The approved amount is base~ on a special pa)'II1ent method.


  Deductible Information: .
               You have met the Part B deductible for 2002.




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                             IS NOT A BILL - Keep this notice for your records.'
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                               Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 27 of 30
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                                                                                                                                         CUSTO~ERSER~~~~
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                        TERRY             J.        -RAMSEY
                                                                                                                                          Y our M ed lcare e.
                         102 S THOMAS                              AVE
                                                                                                                                      you have questions. write or call:
                         EVANSVILLE                                           IN 47714-1437                         ~l)
                                                                                                                                    Medicare-AdminaStar Federal, Inc.
                                                                                                                                    Inquiries- PO Box 14548Z, Cincinnati, OR 45250

                                                                                                O\\~                                Appeais- PO Box 812903, Chicago, IL 60681-2903
                                                                                                                                    LOCATED AT:                  .
                                                                                                                                    8115 Koue Rd-, lndianapolis, IN 46250

        HE"LP STOP' FRAUD: Read your Medicare Sum-                                                                                  Toll Free: 1-877-602-2430
        inary Notice carefully for accuracy.of dates,
                                                                                                                                                         Qror the Hearing
                                                                                                                                    T'f.VJTDD1-~6~~2~4-Q881
                                                                                                                                    and 'Speech Impaued)                                                .           ".                                       .
        services, and amounts billed' to Medicarc; .

                                                         This is a summary of claims processed on '06/28/2002.
                                                                    ..                                .
         pART B MEDICAL INSURANCE                                                          - OUTPATIENT                                  FACILITY CLAIMS
                                                                                                                                                                Non-                          . Deductible                      You               . See
               Dates                                                                                                                                           Covered                             and                        May Be                Notes
                                                                                                                                   Amount
                  of                                                                                                                                           Charges.                       Coinsurnnce                     . Bided              Section
             Senice                                  Services Provided                                                             Cha~ed

               Control number 20217800602802                                                                                                                                                                                                             a
               St Marys Med Ctr Of Evansrill
                    3700 Washington" Avenue
                    Evansville, IN 47750
               Refened by: Jud J. Perez                                                                                                                                                                     $O.QO                 $0.00                   b'
                                                                                                                                         $37.99                           $0.00
                06f19/02                              Pharmacy                                                                                                                                               0.00                  0.00                   b
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                                            X-ray exam offinger(s) (73140) .
                                                                                                                                         440.40                            0.00                             49.99
                                            Emergency dept visit (99284)
                                                                                                                                         S574.39                          ~O~OO                             $68;09
                                     Claim ToW

                   ..
             Notes-Sectioll:
                     a The amount Medicare paid the provider for this Claim is $129.77.

                     b Paymen~ is included in another service received on the same day.



                                                      THIS IS NOT A BILL - Keep this notice for your records ..




-._ J."'. __7:- •. ~- ..•~:"'__:   -~.•.. ~I•.: ...•....-_l~_.•: ..-_~.-.~,     :_.~_~:~._";~~ .- ....•...   -."   ..•..   ~.::;::::":             r··· ..·. _-~..:-.,''':''''''''T':::_.:   _, ••   ".-_~-'=:.-~-_l:.:·.,'       -~'; .. '."   ":,,,~"':':::.7 ...•   "



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                                       Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 28 of 30



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                                                                                                                                 11/0212005
                                                                                                                                     Date ISSlIed


                                                                                                               Amount Paid:


                                                   MEDWAY, MA02053

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                                                               File Copy                 .This is not a Check

                                                               SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                                                P.O. Box 1449
                                                                        Goodlettsville, TN 37070-1449
     Claim No. 3093339                                          Phone (615) 859-0131 Toll-free (800) 831-49]4              Check No. 1605648
                                                                       Explanation. of Benefits                  SMW+ Proaram




                                   09/19/2005              09/19/2005 $6,134.82          $0.00    $531.64"      $531.64    $531.64




   Comments:




                                                       .         .       .                                       3093339
                   MILFORD REGIONAL MEDICAL CEN
                   14 P"ROSPECT ST
                   MILFORD, MA 01757

                                                                                    _.      Southern Benefit
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                        Case 1:01-cv-12257-PBS Document 4684-9 Filed 09/05/07 Page 29 of 30
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